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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

BLACK LIVES MATTER CHICAGO;            )
BLACK ABOLITIONIST NETWORK;            )
CHICAGO DEMOCRATIC                     )   No.   C
SOCIALISTS OF AMERICA; GOOD            )
KIDS/MAD CITY;                         )
#LETUSBREATHE COLLECTIVE;              )
SOUTH SIDERS ORGANIZED FOR             )
UNITY AND LIBERATION;                  )
NATIONAL LAWYERS GUILD                 )
CHICAGO; FIRST DEFENSE LEGAL           )
AID; and WASHINGTON-                   )
BALTIMORE NEWS GUILD, CWA              )
LOCAL 32035, IN THESE TIMES            )
UNIT,                                  )
                                       )
     Plaintiffs,                       )
                                       )
     v.                                )
                                       )
CHAD WOLF; ALYSA ERICHS;               )
MATTHEW T. ALBENCE; MARK A.            )
MORGAN; WILLIAM BARR; L. ERIC          )
PATTERSON; RICHARD K. CLINE;           )
DONALD W. WASHINGTON;                  )
CHRISTOPHER WRAY; TIMOTHY J.           )   PLAINTIFFS’ COMPLAINT FOR
SHEA; REGINA LOMBARDO; and             )   INJUNCTIVE AND
UNKNOWN AGENTS AND                     )   DECLARATORY RELIEF
OFFICERS OF THE UNITED                 )
STATES 1-10,                           )
                                       )
     Defendants.                       )


                                COMPLAINT

    Plaintiffs BLACK LIVES MATTER CHICAGO; BLACK ABOLITIONIST

NETWORK; CHICAGO DEMOCRATIC SOCIALISTS OF AMERICA; GOOD

KIDS/MAD CITY; #LETUSBREATHE COLLECTIVE; SOUTH SIDERS
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ORGANIZED FOR UNITY AND LIBERATION; NATIONAL LAWYERS GUILD

CHICAGO; FIRST DEFENSE LEGAL AID; and WASHINGTON-BALTIMORE

NEWS GUILD, CWA LOCAL 32035, IN THESE TIMES UNIT, by their

undersigned attorneys, hereby complain against Defendants CHAD WOLF, Acting

Secretary of the U.S. Department of Homeland Security; ALYSA ERICHS, Acting

Executive Associate Director, U.S. Homeland Security Investigations; MATTHEW

T. ALBENCE, Deputy Director of the U.S. Immigration and Customs Enforcement;

MARK A. MORGAN, a senior official currently performing the duties of the

Commissioner of the U.S. Customs and Border Protection; WILLIAM BARR,

Attorney General of the United States; L. ERIC PATTERSON, Director of Federal

Protective Services; RICHARD K. CLINE, Principal Deputy Director of the Federal

Protective Services; DONALD W. WASHINGTON, Director of the U.S. Marshals

Service; CHRISTOPHER WRAY, Director of the Federal Bureau of Investigation;

TIMOTHY J. SHEA, Acting Administrator of the U.S. Drug Enforcement Agency;

REGINA LOMBARDO, Acting Director of the U.S. Bureau of Alcohol, Tobacco,

Firearms; and UNKNOWN AGENTS AND OFFICERS OF THE UNITED STATES

1-10, and state as follows:

                                 INTRODUCTION

      1.     The President and his appointees are sending federal agents to the

streets of Chicago in order to intimidate and falsely arrest civilians who are

exercising their constitutional right to speak and to assemble.




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       2.      Federal authorities have promised to deploy in Chicago the same

secret police force that has terrorized the people of Portland, Oregon for more than a

week, where civilians have been kidnapped, beaten, and tear gassed by anonymous

federal agents.

       3.      Rarely in modern times has a President of the United States trampled

on bedrock constitutional protections on this scale or so brazenly usurped states’

police power by directing federal agents to carry out an illegal mission against the

people for his own personal political benefit.

       4.      Plaintiffs have been engaged intensively in peaceful protest in Chicago

for the past eight weeks, and they and their members have additional peaceful

protests planned for today and the immediate future.

       5.      Plaintiffs are entitled to this Court’s protection of their constitutional

right to peacefully protest. This Court must check the unrestrained and unlawful

actions of the executive branch.

                            JURISDICTION AND VENUE

       6.      This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331,

the First and Fourth Amendments to the United States Constitution, and 5 U.S.C. §

702, et seq.

       7.      The Court is authorized to award the requested declaratory and

injunctive relief by the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202; the

Administrative Procedures Act, 5 U.S.C. § 706; and the Court’s equitable powers.




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      8.     Venue is proper under 28 U.S.C. § 1391(b). Defendants are United

States agencies or officers sued in their official capacities. Plaintiffs are residents of

the State of Illinois, and the events giving rise to this complaint occurred and are

likely to continue occurring in the State of Illinois, within the City of Chicago.

      9.     Venue is also proper under 28 U.S.C. § 1391(e)(1) because Defendants

are officers or employees of the United States acting in their official capacity, and at

least one Plaintiff resides in this district or a substantial part of the events or

omissions giving rise to the claims occurred in this district.

                                       PARTIES

      10.    Plaintiff BLACK LIVES MATTER CHICAGO is an organization that

fights for justice alongside the families most impacted by racially motivated violence

and marginalization of Black communities, while working to create just and

equitable systems. Black Lives Matter (BLM) Chicago works to end state violence

and criminalization of Black communities by deconstructing the white supremacist,

capitalist patriarchy. Individual members of BLM Chicago regularly plan and

participate in protests and political actions, have participated in the recent protests

in Chicago, and are likely to be subjected to constitutional violations by the

Defendants under the policies and practices described herein, including but not

limited to violations of their First Amendment rights and false arrests and

detentions. These constitutional violations would require BLM Chicago to spend

additional time and resources providing support to its members, diverting resources

away from BLM’s mission of creating just and equitable systems for all. BLM



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Chicago brings this action on its own behalf and as an organizational representative

for its members.

      11.    Plaintiff BLACK ABOLITIONIST NETWORK (BAN) is a network of

organizers, strategists, and activists who provide strategic support to the

movement. BAN members conduct mass trainings, teach-ins and town halls for

community members. Individual members of BAN regularly plan and participate in

protests and political actions, have participated in the recent protests in Chicago,

and are likely to be subjected to the constitutional violations by the Defendants

under the policies and practices described herein, including but not limited to

violations of their First Amendment rights and false arrests and detentions. These

constitutional violations would require BAN to spend additional time and resources

providing support to its members, diverting resources away from BAN’s mission of

providing support to movements and increasing the capacity of community

members involved in movement work. BAN brings this action on its own behalf and

as an organizational representative for its members.

      12.    Plaintiff CHICAGO DEMOCRATIC SOCIALISTS OF AMERICA

(CDSA) is an organization of over 2,500 members in Cook County, Illinois and an

Illinois corporation. As part of pursuing its political mission, it engages in peaceful

mass protest against violent police repression of the working class. Through its

online magazine, newsletter, podcast, and other media channels, CDSA and its

individual members are also engaged in journalism on the subject of the recent

uprisings responding to police violence against the working class. Individual



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members of DSA regularly plan and participate in protests and political actions,

have participated in the recent protests in Chicago, and are likely to be subjected to

the constitutional violations by the Defendants under the policies and practices

described herein, including but not limited to violations of their First Amendment

rights and false arrests and detentions. These constitutional violations would

require CDSA to spend additional time and resources providing support to its

members, diverting resources away from CDSA’s mission of creating a more

equitable world by establishing socialism as a political force. DSA brings this action

on its own behalf and as an organizational representative for its members.

      13.    Plaintiff GOOD KIDS/MAD CITY (GKMC) are young Black and Brown

people united in fighting to end violence in their cities. They work to achieve more

resources for underserved communities on the South Side and West Side of Chicago

and provide support to young people affected by violence. Individual GKMC

members regularly plan and participate in protests, have participated in the recent

protests in Chicago, and also have launched “love marches” to encourage

communities to resolve conflicts peacefully. They are likely to be subjected to the

constitutional violations by the Defendants under the policies and practices

described herein, including but not limited to violations of their First Amendment

rights and false arrests and detentions. When these constitutional violations occur,

GKMC must divert time and resources from its mission of reducing violence and

improving equality in underserved neighborhoods.




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      14.    Plaintiff #LETUSBREATHE COLLECTIVE is a collaborative of artists

and activists that serves communities directly impacted by mass criminalization,

police violence, and systemic injustice by centering marginalized voices and

dismantling oppressive systems. Through direct action and cultural events,

#LETUSBREATHE COLLECTIVE aims to organize artists to love and transform

themselves and their communities through radical imagination and creative healing

work. Individual members of #LETUSBREATHE COLLECTIVE regularly plan and

participate in protests and political actions, have participated in the recent protests

in Chicago, and are likely to be subjected to the constitutional violations by the

Defendants under the policies and practices described herein, including but not

limited to violations of their First Amendment rights and false arrests and

detentions. When these constitutional violations occur, #LETUSBREATHE

COLLECTIVE must divert time and resources from its mission of promoting radical

healing work in underserved communities.

      15.    Plaintiff SOUTH SIDERS ORGANIZED FOR UNITY AND

LIBERATION (“SOUL”) is a membership organization that consists of more than

two dozen faith based organizations and community organizations on the Southside

of Chicago, that organizes the communities in which its member organizations

operate to fight for low-income people of color in the Chicago southland to build

power and leverage that power to fight for their own interest and liberation. SOUL

partners with their membership organizations and trains them and other

community activists and leaders in organizing strategies specifically designed to



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build leadership and impact public policy and legislation on multiple issues

including housing, health care, education, economic development, employment,

youth services and public safety policy. For the last two months, SOUL has focused

its organizing on public safety policy and has activated many of the members and

congregants of its membership organizations and congregations to participate in

protests to encourage smarter public safety strategies that involve less policing and

more resources in disinvested communities. Individual staff and members of SOUL

regularly plan and participate in protests and political actions, have participated in

the recent protests in Chicago, and are likely to be subjected to the constitutional

violations by the Defendants under the policies and practices described herein,

including but not limited to violations of their First Amendment rights and false

arrests and detentions. When these constitutional violations occur, SOUL must

divert time and resources from its mission of promoting radical healing work in

underserved communities.

      16.    Plaintiff NATIONAL LAWYERS GUILD CHICAGO (NLG Chicago) is

an organization of lawyers, law students, legal workers, and jailhouse lawyers

who operate as a political and social force, working to build a world where human

rights are regarded as more sacred than property interests. Individual members of

NLG Chicago have been subject to aggressive policing and incommunicado

detention by virtue of their advocacy in support of First Amendment-protected

protest activity. NLG Chicago provides “Legal Observers” who document police

behavior during protests, including the most recent ones opposing police violence. It



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also provides legal representation to protesters who are arrested. Individual

members of NLG Chicago regularly attend protests as Legal Observers, have

participated in the recent protests in Chicago, and are likely to be subjected to the

constitutional violations by the Defendants under the policies and practices

described herein, including but not limited to violations of their First Amendment

rights and false arrests and detentions. When these constitutional violations occur,

NLG Chicago is forced to divert time and resources away from their mission of

protecting members’ and clients’ civil rights and liberties during protests.

Furthermore, when Legal Observers are arrested during protests, NLG Chicago

loses the ability to provide oversight of police activities and treatment of protesters.

NLG Chicago is further forced to divert resources to find other Legal Observers to

cover the duties of arrested members.

      17.    Plaintiff FIRST DEFENSE LEGAL AID (FDLA) was originally a pro

bono nonprofit that provided free representation at police stations in Chicago. This

was its purpose for nearly a quarter century until it organized its mission out of

existence by fighting for and achieving a Cook County-wide policy that calls for the

Cook County Public Defender to represent arrestees at police stations in Chicago

and throughout Cook County. FDLA still maintains a hotline that sends callers

looking for police station representation to the Public Defender, and therefore uses

resources when those calls are made. But the primary two functions of FDLA are

now different. First, FDLA continues to employ attorneys that represent pro bono

individuals that have low-damage civil rights cases against the City of Chicago



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when no private firm will take that case. Second, FDLA operates a hotline that

provides non-police alternatives for community members that do not want to call

police to deal with issues such as mental health disturbances, suicidal relatives,

domestic disturbances, homeless people, minor trespassing, etc. This hotline is the

model of what local jurisdictions including Chicago should be doing to de-escalate

violent interactions between police and citizens. Lastly, FDLA has some community

navigators that work with community activists and leaders to organize for

community power and say so in public policy including public safety public policy.

Every aspect of FDLA’s operations will see its resources stressed by the presence of

federal law enforcement in Chicago. This includes its navigators’ desires to engage

in public policy action being tempered.

      18.    Plaintiff WASHINGTON-BALTIMORE NEWS GUILD (WBNG),

COMMUNICATION WORKERS OF AMERICA (CWA) LOCAL 32035, IN THESE

TIMES UNIT, is a bargaining unit representing journalists and communication

workers. This unit of the WBNG is also referred to as the “In These Times Union,”

and is comprised of journalists and other workers employed by the publication, In

These Times. In These Times is an independent, nonprofit magazine which is

dedicated to advancing democracy and economic justice, informing movements for a

more humane world, and providing an accessible forum for debate about the policies

that shape the future. In These Times is based in Chicago and covers topics of social

and political interest, with a focus on movements for social change, including the

Black Lives Matter movement and other movements calling to defund police



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departments. In order to effectively report on these movements, members of the In

These Times Union have attended protests against police violence in Chicago and

intend to continue to do so. Individual members of the In These Times Union are

likely to be subjected to constitutional violations by Defendants, including but not

limited to violations of their First Amendment rights.

      19.    Plaintiffs bring this action on their own behalf and on behalf of their

members.

      20.    Defendant CHAD WOLF is acting secretary of the U.S. Department of

Homeland Security (DHS). DHS is a Cabinet-level Department of the U.S.

government. Its stated missions involve anti-terrorism, border security,

immigration, and customs. It was created in 2002, combining 22 different federal

departments and agencies into a single Cabinet agency.

      21.    Defendant ALYSA ERICHS is Acting Executive Associate Director,

U.S. Homeland Security Investigations (HSI). HSI is an investigative arm of DHS

which states as its goal: “[C]ombating criminal organizations illegally exploiting

America’s travel, trade, financial and immigration systems.” HSI’s legal authority

allows it to investigate only cross-border criminal activity relating to “financial

crimes, money laundering and bulk cash smuggling; commercial fraud and

intellectual property theft; cybercrimes; human rights violations; human smuggling

and trafficking; immigration, document and benefit fraud; narcotics and weapons

smuggling/trafficking; transnational gang activity; export enforcement; and,

international art and antiquity theft.”



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      22.    Defendant MATTHEW T. ALBENCE is Deputy Director and the senior

official currently performing the duties of the Director of the U.S. Immigration and

Customs Enforcement (ICE), an agency housed within DHS. Its stated mission is

“to protect America from the cross-border crime and illegal immigration that

threaten national security and public safety.”

      23.    Defendant MARK A. MORGAN is the senior official currently

performing the duties of the Commissioner of the U.S. Customs and Border

Protection (CBP). CBP is an agency within DHS. Its stated mission is “[t]o

safeguard America’s borders thereby protecting the public from dangerous people

and materials while enhancing the Nation’s global economic competitiveness by

enabling legitimate trade and travel.”

      24.    Defendant WILLIAM BARR is Attorney General of the United States,

and in that position oversees the U.S. Department of Justice.

      25.    Defendant L. ERIC PATTERSON is Director of Federal Protective

Services. Federal Protective Services (FPS) is a division of DHS. Its mission is “[t]o

prevent, protect, respond to and recover from terrorism, criminal acts, and other

hazards threatening the U.S. Government’s critical infrastructure, services, and the

people who provide or receive them.” According to its website, it is responsible for

guarding 9,000 federal facilities and employs more than 1,300 officers, agents, and

support staff who are responsible for overseeing another 13,000 private contractors.




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      26.    Defendant RICHARD K. CLINE is the Principal Deputy Director of the

FPS. According to his official DHS biography, he “serves as an extension of the

Director and operates with full authority to execute the mission of the FPS.”

      27.    Defendant DONALD W. WASHINGTON is Director of the U.S.

Marshals Service. The U.S. Marshals Service is an agency within and under the

control of the U.S. Department of Justice. According to a Fact Sheet on its website,

“it is the enforcement arm of the federal courts, involved in virtually every federal

law enforcement initiative.” The U.S. Marshals Service’s Special Operations Group

says it is “deployed in high-risk and sensitive law enforcement situations, national

emergencies, civil disorder and natural disasters.”

      28.    Defendant CHRISTOPHER WRAY is Director of the Federal Bureau of

Investigation (FBI). The Federal Bureau of Investigation is an agency within the

U.S. Department of Justice.

      29.    Defendant TIMOTHY J. SHEA is the Acting Administrator of the U.S.

Drug Enforcement Agency (DEA). The DEA is a federal law enforcement agency

under the U.S. Department of Justice. According to its website, the mission of the

DEA is to enforce the controlled substances laws and regulations of the United

States and bring to the criminal and civil justice system of the United States, or any

other competent jurisdiction, those organizations and principal members of

organizations, involved in the growing, manufacture, or distribution of controlled

substances appearing in or destined for illicit traffic in the United States; and to

recommend and support non-enforcement programs aimed at reducing the



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availability of illicit controlled substances on the domestic and international

markets.

       30.   Defendant REGINA LOMBARDO is Acting Director of the U.S.

Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF). According to the ATF’s

website, “ATF is a law enforcement agency in the United States’ Department of

Justice that protects our communities from violent criminals, criminal

organizations, the illegal use and trafficking of firearms, the illegal use and storage

of explosives, acts of arson and bombings, acts of terrorism, and the illegal diversion

of alcohol and tobacco products. We partner with communities, industries, law

enforcement, and public safety agencies to safeguard the public we serve through

information sharing, training, research, and use of technology.”

       31.   UNKNOWN AGENTS AND OFFICERS OF THE UNITED STATES

1–10 are unidentified agents and officers of the federal agencies listed in this

complaint, acting under color of federal law and within the scope of their

employment and duties with the respective agencies by which they are employed or

for which they are agents.

                                       FACTS

I.     PLAINTIFFS ARE ENGAGED IN PEACEFUL PROTESTS

       A.    Peaceful Protests in Chicago in 2020

       32.   On May 25, 2020, Minneapolis police officers murdered George Floyd,

who was handcuffed and lying face down on the ground, by suffocating him to death

in broad daylight on the street.



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      33.    Floyd’s murder and the police murder of Breonna Taylor in Louisville,

Kentucky, in addition to recent police murders of other Black people in the United

States sparked the largest movement for social and racial justice in history and has

included peaceful protests around the world against anti-Black police violence,

systemic racism, and inequality.

      34.    In Chicago, Plaintiffs are the leaders of this movement against anti-

Black racism and for human rights and social justice.

      35.    Since the end of May 2020, there have been nearly daily protests and

actions throughout the city of Chicago, ranging in size from a few dozen people to

thousands. These protests have occurred throughout Chicago, in the Loop, and the

South, West and North sides.

      36.    Plaintiffs have been part of the largest global movement for human

rights in recent memory. The Plaintiffs Black Lives Matter Chicago, Black

Abolitionist Network, Chicago Democratic Socialists of America, Good Kids/Mad

City, #LetUsBreathe Collective, South Siders Organized for Unity and Liberation,

and their membership have been in the streets protesting police brutality as part of

the movement for Black lives.

      37.    Legal observers associated with the Plaintiffs National Lawyers Guild

Chicago and First Defense Legal Aid have been attending the protests to document

police activity and police constitutional violations.




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      38.    Members of Plaintiff Washington-Baltimore News Guild, CWA Local

32035, In These Times Unit have been present at protests to report on the historic

protests as well as on the police response.

      B.     Violence by the Chicago Police During Peaceful Protests

      39.    The Chicago Police Department (CPD) has responded—and continues

to respond—to these protests with brutal, violent, unconstitutional tactics that are

clearly intended to silence protestors.

      40.    CPD officers consistently target protesters with unlawful, retaliatory

and lethal force. Officers’ animus against protesters is unmistakable—they

regularly refer to protestors with terms that are vile, misogynistic, and anti-gay.

CPD also targets protester’s property—destroying cameras, phones, eyeglasses and

confiscating bikes, backpacks, and other belongings.

      41.    Protesters often report that CPD officers intentionally strike them on

their head with batons with enough force to leave people bloodied and in some

instances with serious concussions.

      42.    On June 23, 2020, the Chicago Reader published an in-depth

examination of the CPD’s use of lethal force during the May 2020 protests. The

reporter documented “83 baton strikes on at least 32 different people by officers,

most captured on video. Nearly all appear to violate [CPD] policy with more than

half of the strikes on video involving police beating people who were already on the

ground. Multiple videos also show officers hitting protesters in the head with batons

despite rules limiting these strikes to situations requiring deadly force.” The Reader



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article notes that these unlawful uses of force often occurred in full view of

supervisors who failed to intervene and that most officers failed to report their uses

of force.

       43.   CPD’s brutal response has also included police officers tackling

protesters to the ground, kneeing protesters in the neck and back, kicking

protesters in the legs to cause them to fall, trapping protesters on bridges, pushing

protesters stranded on bridges, pinning protesters against hard surfaces, using tear

gas and pepper spray, dragging protesters through the streets, punching protesters

in the face, stomping on protesters on the ground, and beating protesters severely.

       44.   Protesters widely report that CPD targets those it has identified as

protest marshals or leaders with the most brutal violence apparently as part of a

strategy to quell the protesters’ free expression. CPD also was particularly violent

with protesters who expressed concern that CPD was harming other people.

Protestors repeatedly reported that CPD officers pushed, shoved, battered, and

harassed people who were filming acts of police brutality during the uprisings.

Often this resulted in confiscated or damaged camera and physical injury to

protesters exercising their First Amendment right to record the police.

       45.   People of all races who interact with CPD officers during protests

report that officers are aggressive, rude, disrespectful, and often affirmatively

escalate encounters through taunts, shoves, pushes and other inappropriate

behavior. CPD officers used particularly hostile language towards women and

members of the LGBTQ community.



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       46.    CPD’s response to the protests also reflects a pattern and practice of

breaking, stealing, or otherwise disposing of protestors’ belongings, including bikes,

cameras, glasses, goggles and, in some instances, canes used to assist with mobility.

       47.    CPD has also engaged in a systemic practice of illegal searches of

protesters, seizure of protesters, and false arrest of protesters.

       48.    Throughout these events, Mayor Lori Lightfoot has praised the police

for their “restraint.”

       C.     Chicago’s History of Illegal Force, Arrest, Detention, and
              Surveillance of Protestors

       49.    CPD has long used excessive force and false arrest at protests,

including in recent years, at the Black Lives Matters protests and the protests

against the NATO Summit in 2012.

       50.    CPD has a long history of surveillance of protesters. This has included

sending law enforcement infiltrators to surveil protest groups and using technology

to surveil the communications of protesters and organizers.

       51.    CPD has long operated an unconstitutional detention center at the

intersection of South Homan Street and West Filmore Avenue (hereinafter “Homan

Square”). CPD has brought thousands of people—predominately and

disproportionately Black and Latinx people—to Homan Square and interrogated

them using unconstitutional tactics including: physical threats and assaults, denial

of food, water, bathrooms, and sleep, placing individuals in cells with the

overwhelming stench of human feces and urine, psychological coercion, threats of

false charges, and racial slurs. CPD has used these interrogations to try to obtain

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information from individuals. CPD holds these individuals for long periods of time,

without allowing them access to legal counsel or taking them before a judge, and

without revealing their whereabouts to concerned friends, family members, or

counsel. In other words, the activities of CPD at Homan Square proceed under a

shroud of secrecy without any judicial or public oversight.

II.     THE PRESIDENT HAS DEPLOYED A SECRET POLICE FORCE

        A.    President Trump’s Threats to Use Force Against Civilians

        52.   President Donald Trump has long fancied himself a strongman leader

better suited for a dictatorship than a democracy.

        53.   He has maligned the nation’s cities, including Chicago, Portland, and

New York, saying they are “run” by “Radical Left Democrats” who, in his view, will

“destroy our Country as we know it.”

        54.   The President has continually spoken out against peaceful protestors,

even directing his agents to clear peaceful protestors from public grounds outside of

the White House through the use of physical force and chemical weapons.

        55.   On June 1st, 2020, some 350 CBP officers were deployed to

Washington, D.C. to patrol the protests. CBP’s Acting Commissioner Mark Morgan

defended this deployment in a tweet stating that: “These ‘protests’ have devolved

into chaos & acts of domestic terrorism by groups of radicals & agitators. @CBP is

answering the call and will work to keep DC safe.”

        56.   Repeatedly, the President has warned the nation’s cities that he will

use similar force against their civilians to end peaceful protest.



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      57.    To this end, on June 26, 2020, the President signed an Executive Order

on “Protecting American Monuments, Memorials, and Statues, and Combating

Recent Criminal Violence,” in which he fulminated against the protests in American

cities and gave federal law enforcement and military leave to “assist” in protecting

federal property for the next six months.

      58.    On July 1, 2020, CBP circulated a memorandum to CBP officers

detailing their mission in Portland as a response to the President’s recent Executive

Order.

      59.    The July 1st CBP Memo explained that the Acting Secretary of DHS,

Chad Wolf, created the DHS Protecting American Communities Task Force, which

would “provide an ongoing assessment of potential civil unrest and property

destruction and to address resource allocation and potential surge activity to ensure

the continuing protection of people and property.”

      60.    The July 1st CBP Memo further explained that DHS has decided along

with other departments and agencies that it is “in the public interest and fiscally

sound for the Federal Protective Services . . . to partner with other federal law

enforcement to execute the directive of the President. To that end, DHS began

coordination with the Department of Justice (DOJ) and Department of the Interior

(DOI) to establish information/intelligence sharing[.]”

      61.    The July 1st CBP Memo goes on to explain that CBP officers were to

be deployed to cities across the country for the July 4th weekend.




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      62.    Defendant Wolf announced on July 3, 2020 that DHS was “following

[President Trump’s] lead in deploying special units to defend our national treasures

from rioters.” He also stated, “We won’t stand idly by while violent anarchists and

rioters seek not only to vandalize and destroy the symbols of our nation, but to

disrupt law and order and sow chaos in our communities,” and “civil unrest will not

be tolerated.”

      63.    CBP officers, and upon information and belief, other federal agents,

have been deployed in undisclosed cities throughout the country in response to the

nationwide protests, or what DHS calls “civil unrest” or “disruptive activity.” One of

these locations was Portland, Oregon.

      B.     The Secret Police Terrorize Portland

      64.    Starting on or about July 1, 2020, President Trump gave life to his

authoritarian vision for our cities, sending unidentified federal agents to the streets

of Portland, Oregon.

      65.    For several weeks, a paramilitary force of agents of the DHS, as well

as other federal agents known and unknown to Plaintiffs, have been deployed on

Portland streets.

      66.    It has been reported in the media that the camouflaged federal troops

sent to Portland were officers from several federal agencies, including not only CBP,

but also the U.S. Marshals Service.




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      67.    These federal agents dressed in camouflage, fatigues, and tactical gear,

without any insignia or information identifying them. They have used batons, tear

gas, rubber bullets, and munitions on protesters, journalists, and legal observers.

      68.    They have used such force and intimidation despite the fact that

protestors, journalists, and legal observers were not committing any federal crimes,

and were not doing anything threatening whatsoever.

      69.    For example, federal agents shot unarmed protester Donavan LaBella

in the head with a munition, reportedly fracturing his skull.

      70.    On July 12, 2020, while journalist Mathieu Lewis-Rolland was

documenting protests in Portland, federal agents shot him in the side and back ten

times with hard plastic bullets that tore holes into his “PRESS” t-shirt, despite his

clear identification as press, and despite that he was carrying bulky camera

equipment, staying in well-lit areas, and posing no threat to anyone.

      71.    Journalist Garrison Davis was also covering protests in Portland on

the night of July 11, 2020 and the early morning of July 12, wearing a helmet that

said “PRESS” on it in big block letters, holding his press pass, and not participating

in protests. Though he posed no threat to anyone, a federal agent shot him in the

back with a tear gas canister, pepper bullets, and other munitions.

      72.    Egregiously, federal agents beat and pepper-sprayed a Navy veteran,

Christopher David, who went to the protests to ask the federal agents whether they

thought they were upholding the U.S. Constitution with their actions. In response,




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the agents beat him (breaking his hand) and pepper sprayed him in the face,

despite the fact that David posed no threat.

      73.    Indeed, even when a “wall of mothers”—women, some of whom were

pregnant—stood in front of the protestors peacefully, arm-and-arm, and chanted

things like “leave our kids alone,” the federal agents terrorized them with chemical

weapons and other acts of violence.

      74.    On July 16, 2020, another Memorandum was sent to Chad Wolf as

Acting Secretary of DHS (July 16th DHS Memo).

      75.    This July 16th DHS Memo stated that acting in response to President

Trump’s Executive Order CBP and ICE had “mobilized tactical teams to provide

support to [FPS] in protecting federal buildings and assets within the greater

Portland, Oregon area.”

      76.    Further, the July 16th DHS Memo explains how the U.S. Marshals

Service “deployed their Special Operations Group (USMS/SOG) to further assist

FPS in the protection of the Mark O. Hartfield Federal Courthouse in Portland,”

and that the “U.S. Secret Service, . . . ICE/HSI, and the . . . FBI have also provided

investigative support to FPS.”

      77.    While in Portland, these CBP officers reportedly entered sections of the

city where residents were peacefully protesting racial and social injustice.

      78.    CBP officers in Portland were wearing generic green law enforcement

uniforms with no identifying insignias. These CBP officers then approached




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protesters in unmarked vehicles, in some instances far from any federal property,

buildings, or monuments they were deployed to protect.

      79.    On July 15, 2020, armed federal agents dressed in camouflage pulled

Mark Pettibone into an unmarked van without identifying themselves, drove him to

what is believed to have been a federal courthouse, and detained him in a cell before

releasing him without any paperwork, citation, or record of his arrest.

      80.    Another protester in Portland reported that she and others were

standing and talking to one another when they heard a fellow protester yell that a

“snatch van” was approaching. She described these officers, later determined to be

CBP agents, as “putting bags over [protesters’] heads, and putting them in out-of-

state plated vans.” The CBP issued a statement confirming that its agents were

responsible for this lawless kidnapping of a civilian from the streets of Portland.

      81.    The July 1st CBP Memo and the July 16th DHS Memo each outline

the coordination between subagency officers and agents of DHS, DOJ, and DOI

which has been ongoing throughout the summer since in response to nationwide

protests.

      82.    According to Ken Cuccinelli, the Acting Deputy Secretary of Homeland

Security, the Hatfield courthouse in Portland is protected by the FPS. The Acting

Deputy Secretary explained that CBP and ICE officers were called in to support

FPS and, thus, that FPS was directing the involvement by CBP, ICE, and other

DHS officers.




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      83.    Defendant Wolf has publicly stated that 43 arrests have been made in

relation to operations in Portland since the weekend of July 4th, including by teams

of FPS and CBP officers working together. It is unknown how many instances have

resulted in unauthorized searches, questioning, or seizure and temporary detention.

It is also unknown which agencies have carried out exactly which arrests, searches,

detainments, or custodial interrogations.

      84.    The President and his appointees and officers have tried to

characterize these incidents of detainment and arrests as a response to individuals

destroying federal property. For example, DHS Acting Deputy Secretary Ken

Cuccinelli stated in an interview with NPR that “We’re talking only about violent

rioters. We’re not talking about actual protesters. We’re not seeking to interfere at

all with anyone peacefully expressing themselves—period, full stop.”

      85.    However, incidents like what happened to Mark Pettibone show

otherwise—that protesters could do nothing more than walk down the street and

still be subject to search, arrest, and hours of detainment.

      86.    Oregon Governor Kate Brown has called the federal agents’ conduct in

Portland “a blatant abuse of power,” and has criticized the Trump Administration

for intentionally “provok[ing] confrontation for political purposes.”

      87.    In a letter co-signed by the mayors of five other cities, including

Chicago’s Mayor, Portland Mayor Ted Wheeler criticized the federal agents for

using “tactics we expect from authoritarian regimes—not our democracy” and




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confirmed that “the irresponsible actions of [the federal] agencies threaten

community safety.”

         88.   Oregon’s Attorney General has filed a federal lawsuit seeking to enjoin

the federal agents from continuing to engage in their unlawful tactics.

         89.   Oregon’s Governor has requested the removal of federal agents from

Portland’s streets, as has Mayor Wheeler, but Defendant Wolf has refused.

         90.   The modus operandi of the paramilitary force of federal agents in

Portland includes: (1) anonymous federal agents dressed in camouflage who bear no

known designation and refuse to identify themselves; (2) the use of unmarked

vehicles used to illegally arrest and detain and round up protestors, journalists, and

observers; (3) kidnapping of innocent civilians without probable cause; (4) uses of

excessive, inexcusable force against people exercising their right to speak and to

assemble as well as people reporting on peaceful protests; and (5) “preemptive

arrests” of people without probable cause to believe they committed any federal

crime.

         C.    The Federal Policy of Conducting Illegal Arrests

         91.   On July 15, 2020, a video emerged showing camouflaged federal agents

grabbing an individual off the street in Portland and placing him in an unmarked

van.

         92.   NLG Legal Observers who were recording the video objected to this

kidnapping.




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      93.    On July 17, 2020, an official U.S. Customs and Border Patrol

statement confirmed that the camouflaged officers were CBP agents.

      94.    In a press conference on July 21, 2020, Defendant Wolf called on

Defendant Cline to explain the “standard of probable cause” justifying these arrests.

      95.    Defendant Cline specifically addressed the July 15th unmarked officer

arrests explaining that the CBP agents had identified a man “in a crowd and in an

area” where someone was aiming a laser at officers, and they followed him to a

calmer location to talk to him. After doing so, they removed him from the area

where other protesters and observers were nearby and took him to another location

in a van. They held him for approximately 20 minutes and then released him

“because they did not have what they needed” to hold him.

      96.    In attempting to justify the constitutionality of this act, Cline

characterized it as a “simple engagement” and “not a custodial arrest.”

      97.    These Defendants’ statements established a policy of allowing officers

to make arrests without probable cause in violation of the Fourth Amendment.

      98.    Later the same day, Defendant Wolf stated that DHS was “having to

go out and proactively arrest individuals . . . to hold them accountable.”

      99.    Defendant Wolf’s statement explaining DHS’s authority to “proactively

arrest” individuals further confirmed a federal policy that is being implemented by

federal agents on city streets that contravenes the protections of the Fourth

Amendment by sanctioning arrests without probable cause.




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       100.   President Trump has approved of the actions of the federal agents in

Portland, thereby ratifying the federal agents’ policy of arresting individuals

without probable cause and justifying the continued and expanded use of unlawful

arrests that agents employed in Chicago and other cities.

       101.   For example, on June 20, 2020, President Trump stated “we’ve done a

great job in Portland. . . . I guess we have many people in jail right now. We very

much quelled it, and if it starts again, we’ll quell it again very easily. It’s not hard to

do, if you know what you’re doing.”

       102.   When the President and Defendants Wolf and Barr announced at their

July 22, 2020 press conference that they would deploy a “surge” of federal agents to

other cities, including Chicago, at no point did any of them or anyone else state that

the policy of conducting unlawful or preemptive arrests like those conducted in

Portland would not continue during the “surge” of officers being imminently

deployed to Chicago.

       D.     The Secret Police Have Been Deployed to Chicago

       103.   Despite public outcry against these flagrant constitutional violations,

the President has vowed to continue to use federal agents to mount a hostile

takeover of U.S. cities.

       104.   The President has said that his efforts in Portland were designed to

“help” that city and that Chicago, among other cities, is next.

       105.   These developments are unsurprising, given that on May 28, 2020, the

President said that he would send the military to confront protesters and invoked



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the racist phrase of a segregationist used to quell prior cries for racial equality:

“When the looting starts, the shooting starts.”

       106.   The President again made threats about deploying the National Guard

to “dominate the streets” and using “thousands of heavily armed soldiers” against

civilians.

       107.   On June 1, 2020, amid the protests in Washington, D.C., the President

ordered police and National Guard troops to clear peaceful protestors from

Lafayette Square and surrounding streets using tear gas and other weapons. This

was done solely so that the President could walk from the White House to St. John’s

Episcopal Church, so that he could hold a Bible for a photo-op.

       108.   Other federal appointees and officers have also made clear the

Administration’s intention to replicate what is taking place in Portland elsewhere,

including in Chicago.

       109.   Defendant Wolf announced that DHS was going to deploy agents to

Chicago and would “do that whether they like us there or not.”

       110.   In an interview on July 19, 2020, the President called Chicago

“stupidly run” and pledged to have “more federal law enforcement” in Chicago and

other cities “all run by liberal Democrats.”

       111.   On July 22, 2020, the President held a news conference from the East

Room of the White House confirming that there would be a “surge” of federal agents

arriving imminently in Chicago.




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      112.   During those remarks, the President was explicit that the federal law

enforcement response is needed to address problems purportedly caused by the

activities and demands of protestors, and that federal agents would help to restore

order in Chicago.

      113.   In addition, neither the President, Defendant Barr, nor Defendant

Wolf gave any assurance that the “hundreds” of federal agents flooding Chicago

would leave protestors alone. At no time did they acknowledge that the federal

government had overstepped in Portland. At no time did they agree that the federal

law enforcement activities currently taking place in Portland would be limited to

Portland.

      114.   On the contrary, the President and Defendants made clear that there

would soon be an unchecked federal presence on the streets of Chicago, with the

President describing federal authority as “as wide as it can be.”

      115.   The President and Defendants repeatedly tied the decision to send

federal law enforcement officers to Chicago to the actions of protesters, blaming

protesters for violence in Chicago.

      116.   The President cited “a radical movement to defund, dismantle and

dissolve our police departments” that “has led to a shocking explosion of

shootings, killings, murders, and heinous crimes of violence.” He complained

that local “politicians have now embraced the far-left movement to break up our

police departments causing violent crime in their cities to spiral . . . seriously

out of control.” He demanded that Americans ”insist that community officials



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fully support, fully back and fully fund their local police departments” and said

federal law enforcement would remain until then. He repeated “[w]e will never

defund the police, we will hire more great police” and “[w]hile others want to

defund, defame and abolish the police, I want to support and honor our great

police.”

      117.   Defendant Barr announced, ”[W]e’re going to continue to confront

mob violence,” and he claimed that “a significant increase in violent crime” is

the “direct result of the attack on the police forces” and calls “for the defunding

of police departments.”

      118.   All of this is consistent with the President’s numerous statements

since the beginning of the nationwide protests that he intends to use federal

agents to stop protestors.

      119.   For instance, the President tweeted: “Get tough Democrat Mayors and

Governors. These people are ANARCHISTS. Call in our National Guard NOW. The

World is watching and laughing at you and Sleepy Joe. Is this what America wants?

NO!!!” This early suggestion that the National Guard was needed to quell actions of

particular political groups or protesters with political leanings, such as “anarchists,”

makes clear that the aim in calling in federal officers is to quell protests—not just

those committing crimes against property.

      120.   The President has expressed his disdain for the viewpoints of the

protestors: “Our great National Guard Troops who took care of the area around the

White House could hardly believe how easy it was. “A walk in the park”, one said.



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The protesters, agitators, anarchists (ANTIFA), and others, were handled VERY

easily by the Guard, D.C. Police, & S.S. GREAT JOB!”

         121.   The President has indicated his intention to “dominate” protestors:

“D.C. had no problems last night. Many arrests. Great job done by all.

Overwhelming force. Domination. Likewise, Minneapolis was great (thank you

President Trump!)”

         122.   The President has expressed satisfaction when protestors self-censor

by staying home: “I have just given an order for our National Guard to start the

process of withdrawing from Washington, D.C., now that everything is under

perfect control. They will be going home, but can quickly return, if needed. Far

fewer protesters showed up last night than anticipated!”

         123.   At President Trump’s rally at Mount Rushmore on July 4, 2020, he

announced that he was “deploying federal law enforcement to protect our

monuments, arrest the rioters, and prosecute offenders to the fullest extent of the

law.”

         124.   Finally, in retweeting a thread which showed New York stores boarded

up in anticipation of any violence following the continuation of nationwide protests,

President Trump wrote, “The National Guard is ready!”

III.     CHICAGO IS UNABLE OR UNWILLING TO STOP UNLAWFUL
         FEDERAL INTERVENTION

         125.   Chicago’s Mayor has publicly recognized the problems with the

President’s secret police force, saying, “We don’t need federal agents without any

insignia taking people off the streets and holding them, I think, unlawfully.”

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        126.   The Mayor has also recognized that an “influx” of federal agents to

Chicago is on its way.

        127.   In a July 20, 2020 letter to the President, Chicago’s Mayor stated that

federal agents deployed to Chicago “that would not be within our control or within

the direct command of the Chicago Police would spell disaster.”

        128.   Chicago is already saturated with federal law enforcement agents who

conduct duly authorized law enforcement activities in Chicago and the region on a

daily basis.

        129.   A further influx of such agents in lieu of investment in the

communities most affected by gun violence, police violence, and racism is

counterproductive, destructive, and a potentially violent disaster.

        130.   Contrary to her stated position, on information and belief, Chicago’s

Mayor has had discussions with federal authorities about the initial deployment of

federal agents in Chicago, and on July 21, 2020, she confirmed that federal agents

would be deployed to Chicago.

        131.   The assent of Chicago’s Mayor to the surge of federal forces means that

when the President sends federal agents to Chicago, as he did to Portland, the CPD

and the City will be unable and unwilling to protect protestors from unlawful use of

excessive force and arrests without probable cause.

IV.     PLAINTIFFS FEAR CONTINUING THEIR LAWFUL ACTIVITIES

        132.   Given the City of Chicago’s history of violence against peaceful

protestors, and its recent violence against protestors, the addition of federal forces



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to illegally intimidate, police, and falsely arrest peaceful protestors will ignite

additional official violence against civilians and a serious constitutional crisis

within the City of Chicago.

      133.   Indeed, recognizing these legitimate and imminent fears, State

Representative Will Guzzardi, whose district overs the City of Chicago’s northwest

side, reports that his constitutes are “terrified by the news” of impeding federal

agents, and that some have been dissuaded from protesting.

      134.   Plaintiffs have planned frequent protests and political actions into the

foreseeable future, including the weekend of July 24, 2020. Events are planned for

July 24, 25, and 26, 2020, and additional events are expected during the following

week. All of the Plaintiffs herein have made plans and put aside resources to

participate in one or more activity this weekend, including: a) a #LetUsBreathe

rally at Freedom Square on Friday, July 24, 2020, across the street from the Homan

Square, a police station notorious for disappearing people (sometimes in conjunction

with Federal DEA or ATF agents); b) a protest organized by multiple organizations

including Plaintiffs BLM Chicago and CDSA on Saturday, July 25, 2020 in Grant

Park to support Black Lives; c) another protest also in Grant Park on Saturday,

July 25, 2020 to call for the abolition of ICE.

      135.   NLG Chicago Legal Observers have observed over 50 demonstrations

since the end of May 2020, when nationwide protests against systemic racism,

inequality, and police violence, sparked by the murders of George Floyd and

Breonna Taylor, began.



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      136.   Plaintiff NLG Chicago seeks to protect the First Amendment rights of

protestors by observing protests and obtaining information from protestors who are

arrested so that they can be tracked and provided pro bono or low-cost

representation.

      137.   Plaintiff FDLA seeks to protect the First Amendment rights of

protesters by observing protests and obtaining information from protesters who are

arrested so that they can be tracked and provided pro bono or low-cost

representation.

      138.   Plaintiff In These Times Union, has documented and tracked hundreds

of instances of violence, harassment and arrests directed toward journalists by

members of law enforcement of local, state, and federal agencies throughout the

country. Individual members of In These Times Union are aware of “less lethal”

munitions being deployed by federal agents against journalists covering protests in

Portland and instances where members of the Chicago Police Department have

used physical force to prevent journalists from covering protests.

      139.   Plaintiffs are aware of the activities of federal law enforcement officers

in Portland; specifically, they are aware that federal agents have kidnapped, falsely

arrested, and brutalized protestors and NLG Legal Observers.

      140.   Plaintiffs are also aware that President Trump is deploying federal

officers to Chicago immediately, and that the CPD intends to work with the federal

agents.




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      141.   Plaintiffs would like to continue exercising their First Amendment

rights of speech, assembly, observing, and newsgathering, but they fear that federal

agents will kidnap, falsely arrest, or physically abuse them.

      142.   Specifically, Plaintiff BLM Chicago has members who are not going to

attend the protests and rallies planned for this weekend because they fear federal

agents will kidnap, falsely arrest, or physically abuse them, as they did to

protestors in Portland.

                                  LEGAL CLAIMS

                                         COUNT I

        Interference with Speech, Peaceful Assembly, and the Press
                   In Violation of the First Amendment

      143.   Plaintiffs incorporate by reference each of the paragraphs in this

Complaint as if restated fully herein.

      144.   Individuals who peacefully gather on the streets of Chicago to protest

have the right to gather, express themselves, and petition for redress of grievances

under the First Amendment.

      145.   Members of the press and individuals have the right to gather, receive,

record, and disseminate information and news under the First Amendment.

      146.   Defendants’ actions are undertaken with the intent of discouraging

and suppressing lawful protest and therefore constitute an illegal prior restraint on

individuals’ First Amendment right to peacefully protest racial inequality.

      147.   Many individuals who are reasonably afraid of being brutalized or

picked up and shoved into unmarked vans by federal agents will feel compelled to

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stay away, for their own personal safety, and will therefore be unable to express

themselves in the way that they have the right to do.

      148.   In the manner described more fully above, Plaintiffs’ First Amendment

rights have been and are being infringed. Their exercise of their rights to speak,

assemble, petition, and gather news is being chilled due to the well-founded fear

that they will be brutalized or kidnapped by federal agents for no reason other than

being a protestor, journalist, or legal observer on the streets and sidewalks of

Chicago.

                                      COUNT II

                   Federal Policy of Conducting False Arrests
                     In Violation of the Fourth Amendment

      149.   Plaintiffs incorporate by reference each of the paragraphs of this

Complaint as if restated fully herein.

      150.   The Fourth Amendment prohibits unreasonable seizures, and in

particular prohibits federal officials from arresting a person without probable cause

to believe that they have committed a federal crime.

      151.   In so doing, the Fourth Amendment also plainly prohibits “preemptive

arrests” in anticipation of a possible violation of the law.

      152.   Defendants and the federal agents discussed in this complaint are

operating pursuant to an official federal policy, approved by responsible federal

agency heads with final policymaking authority, of conducting arrests of individuals

without probable cause to believe they have committed federal crimes, including

“preemptive arrests” of peaceful protestors and journalists.

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      153.   Federal agents’ conduct in other cities as described above, and in

particular their false arrest of peaceful protestors and journalists, was caused by

and pursuant to this unconstitutional federal policy.

      154.   No probable cause exists to believe that Plaintiffs, their members, or

any other similarly situated protestors, legal observers, or journalists, has

committed a federal crime. Plaintiffs’ anticipated participation in protests does not

provide probable cause to believe that a person has committed a federal crime.

      155.   In the absence of an injunction, Defendants will arrest and seize

individuals off the streets in Chicago without probable cause, in violation of the

Fourth Amendment, pursuant to official federal policy.

                                     COUNT III

                                  28 U.S.C. § 2201
                                Declaration of Rights

      156.   Plaintiffs incorporate each of the paragraphs of the complaint as if

restated fully herein.

      157.   In a case of actual controversy within its jurisdiction, any court of the

United States may declare the rights and other legal relations of any interested

party seeking such declaration, whether or not further relief is or could be sought,

under 28 U.S.C. § 2201.

      158.   There is an actual controversy within the jurisdiction of this court,

inasmuch as one or more federal defendants have engaged in actions endangering

Plaintiffs and others assembled on Chicago’s streets. No federal authority has

agreed to stop this practice.

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      159.   Plaintiffs are entitled to a declaration that the acts at issue are

unlawful, and an injunction precluding Defendants from continuing in them.

                                       COUNT IV

                                      Conspiracy

      160.   Plaintiffs incorporate each of the paragraphs of this complaint as if

restated fully herein.

      161.   Defendants, acting in concert with other co-conspirators, known and

unknown, reached an agreement among themselves to deprive Plaintiffs of their

constitutional rights, all as described in the various paragraphs of this Complaint.

      162.   In so doing, these co-conspirators conspired to accomplish an unlawful

purpose by unlawful means. In addition, these co-conspirators agreed among

themselves to protect one another from liability for depriving Plaintiffs of these

rights.

      163.   In furtherance of their conspiracy, each of these co-conspirators

committed overt acts and were otherwise willful participants in joint activity.

      164.   The misconduct described herein was undertaken intentionally, in

total disregard of Plaintiffs’ constitutional rights.

                               PRAYER FOR RELIEF

      Wherefore, Plaintiffs pray for a judgment and the following relief:

      1.     A declaration, pursuant to 28 U.S.C. § 2201, that the federal actions

described in this complaint restrain Plaintiffs’ ability to assemble in peaceful

protest, observing, and news gathering, in violation of the First Amendment;



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      2.      A declaration, pursuant to 28 U.S.C. § 2201, that the federal actions

described in this complaint constitute a federal unlawful policy of committing

arrests without probable cause, in violation of the Fourth Amendment;

      3.      A declaration, pursuant to 28 U.S.C. § 2201, that the federal actions

described in this complaint present an imminent threat that Plaintiffs will be

arrested without probable cause, by unidentified federal agents, in violation of the

Fourth Amendment; and

      4.      An injunction, pursuant to 28 U.S.C. § 2202 and 5 U.S.C. § 702,

permanently enjoining the Defendants from engaging in the federal actions

described in this complaint, and specifically requiring that the Defendants and their

officers and agents:

           a. Refrain from interfering in or otherwise policing lawful and peaceful
              assemblies and protests in the City of Chicago;

           b. Cease enforcement of their unlawful policy of conducting arrests
              without probable cause to believe a federal crime has been committed
              and conducting “preemptive arrests”;

           c. Refrain from arresting individuals in the City of Chicago without
              probable cause to believe that a federal crime has been committed;

           d. Identify themselves and their agency before detaining or arresting any
              person off the streets of Chicago;

           e. Explain to any person detained or arrested that the person is being
              detained or arrested and explain the basis for that action; and

           f. Any other relief this Court deems proper.




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                                            Respectfully submitted,

                                            BLACK LIVES MATTER
                                            CHICAGO, et al.

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